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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION



 TYCO FIRE PRODUCTS LP,                            Civil Action No. 2:23-cv-02384-RMG
                                      Plaintiff,
                       v.                          Hon. Richard M. Gergel

 AIU INSURANCE COMPANY, et al.

                                   Defendants.


                                              ORDER

       The Court GRANTS Plaintiff Tyco Fire Products LP (“Tyco”), and Defendants Great

American Assurance Company (f/k/a Agricultural Insurance Company) and Great American Spirit

Insurance Company (collectively “Great American”)’s joint motion to dismiss Great American.

(Dkt. No. 291). Tyco’s claims against Great American are DIMISSED WITH PREJUDICE. Great

American is accordingly dismissed from this action.


       The Court furthers GRANTS Tyco’s joint motion to dismiss with Affiliated FM Insurance

Company (“Affiliated FM”). (Dkt. No. 292).            Tyco’s claims against Affiliated FM are

DISMISSED WITH PREJUDICE and Affiliated FM is accordingly dismissed from this action.


       Last, the Court GRANTS Tyco’s joint motion to dismiss with Defendants AIU Insurance

Company, American Home Assurance Company, Granite State Insurance Company, Insurance

Company of the State of Pennsylvania, National Union Fire Insurance Company of Pittsburgh,

Pa., and New Hampshire Insurance Company (collectively, the “AIG Insurers”). (Dkt. No. 306).

Tyco’s claims against the AIG Insurers are DISMISSED WITH PREJUDICE and the AIG Insurers

are accordingly dismissed from this action.
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   AND IT IS SO ORDERED.




                                                 s/Richard Mark Gergel
                                                 Richard Mark Gergel
                                                 United States District Court


   June 7, 2024

   Charleston, South Carolina




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